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                 EXHIBIT B-081
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                   IN THE SUPERIOR COURT OF FULTON COUNTY

                                     STATE OF GEORGIA                              FILED IN OFFICE


INRE:                                         )
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                              )
Witness:                                      )       Judge Robert C. I. McBurncy
Boris Epshteyn                                )


     PETITION FOR CERTIFICATION OF NEED FOR TESTIMONY BEFORE
    SPECIAL PURPOSE GRAND JURY PURSUANT TO THE UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEO.


       COMES NOW the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, and petitions this Honorable Court for a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. §

24-13-92 et seq., and in support thereof says as follows:

       1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G.A. § 15-12-100, Et Seq, "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

           nature in that it was requested for the purpose of investigating criminal disruptions
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    related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is

    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Boris Epshteyn, born August 14, 1982, (hereinafter, "the Witness") is a necessary and

    material witness to the Special Purpose Grand Jury's investigation. Through both its

    investigation and through publicly available information, the State has learned the

    following information.

 4. The Witness is known to be affiliated with both former President Donald Trump and

    the Trump Campaign.

 5. The Witness served as an aide to the Trump Campaign in the weeks following the

    November 2020 election.

 6. In January 2022, the Witness gave a publicly broadcast interview with MSNBC.

    During the interview, the Witness was asked whether he was involyed in a plan

    organized by the Trump Campaign to have individuals purporting to be duly elected

    and qualified presidential electors submit false certificates of vote to former Vice

    President Michael Pence and others. In response to the question, the Witness stated,

    "Yes, I was part of the process, to make sure there were alternate electors for when,

    as we hoped, the challenges to the seated electors would be heard and would be

    successful - part of the 12th Amendment of the Constitution and the Electoral Count
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    Act." The Witness further stated that he acted "under the leadership of Rudy

    Giuliani."

 7. The Witness, based on the above, is a necessary and material witness. The Witness

    possesses unique knowledge concerning the logistics, planning, and execution of

    efforts by the Trump Campaign to submit false certificates of vote to former Vice

    President Michael Pence and others. The Witness possesses unique knowledge

    concerning relevant communications between the Witness, former President Donald

    Trump, the Trump Campaign, and other known and unknown individuals involved in

    the multi-state, coordinated efforts to influence the results of the November 2020

    elections in Georgia and elsewhere. Finally, the Witness's anticipated testimony is

    essential in that it is likely to reveal additional sources of information regarding the

    subject of this investigation.

 8. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 9. The Witness resides outside the jurisdiction of this Honorable Court and is therefore

    unable to be served with process to compel attendance and testimony.

 10. The Witness currently resides in Princeton, Middlesex County, New Jersey.

 11. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Wednesday, September 21, 2022, at 9:00 a.m. The District

    Attorney reasonably anticipates that the Witness's testimony will not exceed one day.

 12. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with the Uniform Act
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    to Secure the Attendance of Witnesses from Without a State in Criminal Proceedings.

    See O.C.G.A. §24-13-90 et seq.

 13. If the Witness comes into the State of Georgia pursuant to this request, directing the

    Witness to attend and testify before the Special Purpose Grand Jury, the laws of this

    State shall give the Witness protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the

    Witness may be required to pass in the ordinary course of travel, for any matters

    which arose before the Witness's entrance into this State and other states.

 14. Both Georgia and New Jersey have adopted the Uniform Act to Secure the

    Attendance of Witnesses from Without a State in Criminal Proceedings. See

    O.C.G.A. § 24-13-90; N.J. Stat.§ 2A:81-18 et seq.
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       WHEREFORE, the State of Georgia, by and through Fani T .. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, prays that this Honorable Court issue a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. § 24-

13-92 et seq., certifying to the proper authorities in the jurisdiction in which the Witness is located

that the Witness is a necessary and material witness whose attendance and testimony is required

for the above-referenced Special Purpose Grand Jury investigation, and the presence of the

Witness will be needed for the number of days specified above,

       Respectfully submitted this the 19th day of August, 2022,

                                                       FANI T. WILLIS
                                                       DISTRICT ATTORNEY
                                                       ATLANTA JUDICIAL CIRCUIT




                                                --~tlanta      Judicial Circuit
                                                       136 Pryor Street Southwest
                                                       Third Floor
                                                       Atlanta, Georgia 30303
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                    Exhibit A
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IN RE: REQUEST FOR
       SPECIAL PURPOSE


                                                                                        --·u    F/f0
                                                                                               10
        GRAND JURY                                                 (           FULTONC.01!'<


               OlRJl)ER APPROVirNGlREOUEST FOR SPECi:                   PURPOSE
                GRAND .roRY PURSUANT TO O.C.G.A. §15-12-100, et seq.

       The District Attorney for the Atlanta Judicial Circuit submitted to the judges of the

Superior Cou1t of Fulton County a request to impanel a special purpose jury for the purposes set

forth in that rcquost. This request was considered and approved by a majority of the total

number of the judges of this Court, as required by O.C.G.A. §15-12-I00(b).

       IT [S THEREFORE ORDERED that a special purpose grand jury be drawn and

impaneled to serve as provided in O.C.G.A. § 15-12-62.1, 15-12-67, and 15-12-100, to

commence on May 2, 2022, and continuing for a period not to exceed 12 months. Such period

shall not include any time periods when the supe1visingjudge detennines that the special

purpose grand jury cannot meet for safety or other reasons, or any time periods when normal

court operations are suspended by order of the Supreme Court of Georgia or the Chief Judge of

the Superior Court. The special purpose grahd jury shall be authorized to investigate any and all

facts and circumstances relating directly or indirectly to alleged violations of the laws of the

State of Georgia, as set forth in the request of the District Attorney referenced herein above.

       Pursuant to O.C.G.A. § 15-12-10l(a), the Honorable Robert C. I. McBumey is hereby

assigned to supervise and assist the special purpose grand jmy, and shall charge said special

purpose grand jury and receive its reports as provided by law.
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       Thi, authorization ,hall include the investigation of any overt acts or predicate acts

relating to the subject of the special purpose grand jmy' s investigative purpose. The special

purpose grand jury, when making its presentments and reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendations concerning criminal prosecution as it shall see

fit. Furthermore, the provisions ofO.C.G.A. § 15-12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grandjury(ies) imparreled in this Circuit to continue to

be devoted to the consideratiorr of the backlog of criminal matters that has accumulated as a

result of the COVID-19 Pandemic.




                                CHRISTOP          S. BRASHER~IEF          JUDGE
                                Superior Court of Fulton County
                                Atlanta Judicial Circuit
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                     Exhibit B
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                      OFFICE OF THE FULTON COUNTY DISTRICT ATTORNEY
                                     ATLANTA JUDICIAL CIRCUIT
                                   136 PRYORSTREETSW, 3RD FLOOR
                                       ATLANTA, GEORGIA 30303
~I(    d.Cw'f$j                                                                TELEPHONE 404-612-4639
District Attorney



                                                                             2-,Di2-·-EX-DODD/7
      The Honorable Christopher S. Brasher
      ChiefJudge, Fulton County SuperiorCourt                                  FILED IN OFFICE
      Fulton County Courthouse                                                                        J)
      185Central Avenue SW, Suite T-8905
      Atlanta, Georgia30303

      January20, 2022

      Dear Chief Judge Brasher:

      I hope this letter finds you well and in good spirits.Please be advisedthat the DistrictAttorney's
      Officehas received infonnation indicatinga reasonableprobabilitythat the State of Georgia's
      administrationof elections in 2020, includingthe State's electionof the Presidentof the United
      States,was subject to possible criminaldisruptions.Our officehas also learnedthat individuals
      associatedwith these disruptionshave contactedother agenciesempoweredto investigatethis
      matter,includingthe Georgia Secretaryof State,tl1eGeorgiaAttorneyGeneral, and the United
      StatesAttorney's Office for the NorthernDistrictof Georgia,leavingthis office as the sole
      agencywith jurisdiction that is not a potentialwitnessto conductrelated to tlle matter.As a
      result,our office has opened an investigationinto any coordinatedattempts to unlawfullyalter
      the outcomeof the 2020 electionsin this state.

      We have made efforts to interviewmultiple witnessesand gather evidence,and a significant
      numberof witnesses and prospectivewitnesseshaverefusedto cooperatewith the investigation
      absenta subpoenarequiring their testimony.By way of example,GeorgiaSecretaryof State
      Bmd Raffensperger,an essential witnessto the investigation,has indicated that he will not
      participatein an interview or otherwiseoffer evidenceuntil he is presented with a subpoenaby
      my office. Please see Exhibit A, attachedto this letter.                                •

      Therefore,I am hereby requesting, as the electedDistrictAttorneyfor Fulton County,pursuant
      to O.C.G.A.§ 15-12-100et. seq., that a special purposegrandjury be impaneled for the purpose
      of investigatingthe facts and circumstancesrelatingdirectly or indirectlyto possible attemptsto
      disruptthe !awfuladministrationof the 2020 electionsin the State of Georgia. Specifically,a
      specialpwpose grand jury, which will not have the authorityto return an·indictment but may
      make recommendationsconcerningcriminalprosecutionas it shall see fit, is needed for three
      reasons:first, a special purpose grandjury can be inipaneledby the Court for any time period
      requiredin order to accomplish its investigation,which will likely exceed a nonnal grandjury
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    tenn; second, the special purpose grandjury wouldbe empoweredto review this matter and this
    matteronly, with an investigatoryfocus appropriateto the complexityof the facts and
    circumstancesinvolved; and third, the sittinggrandjury wouldnot be required to attemptto
    addressthis matter in addition to their normalduties.

    Additionally,I am requesting that, pursuantto O.C.G.A.§ 15-12-101,a Fulton CountySuperior
    CourtJudge be assigned to assist and supervisethe specialpurposegrandjury in carryingout its
    investigationand duties.

    I have attached a proposed order impanelingthe specialpurposegrandjury for the consideration
    of the Court.

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              -+~"----',<.....~-=--"-'--------


-     strictAttorney,Atlanta Judicial Circuit

    ExhibitA: Transcript of October 31, 2021 episodeof Meetthe Presson NBC News at 26:04
    (videoarchived at https://www.youtube,com/watch?v=B7  I cBRPgt9k)
    ExhibitB: Proposed Order

 cc:
TheHonorableKimberly M. EsmondAdams
The HonorableJane C. Barwick
The HonorableRachelle Carnesdale
The HonorableThomas A. Cox, Jr.
The HonorableEric Dunaway
The HonorableCharles M. Eaton, Jr.
The HonorableBelinda E. Edwards
TheHonorableKelly Lee Ellerbe
TheHonorableKevin M, Farmer
The HonorableUral Glanville
The HonorableShakura L. Ingram
TheHonorableRachel R. Krause
The HonorableMelynee Leftridge
The HonorableRobert CJ. McBurney
The HonorableHenry M. Newkirk
The HonorableEmily K. Richardson
The HonorableCraig L. Schwall, Sr.
The HonorablePaige Reese Whitaker
The HonorableSherrnelaJ. Williams
FultonCounty Clerk of Superior Court Cathelene"Tina" Robinson
